Case 2:05-md-01657-EEF-DEK Document 8093 Filed 10/20/06 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In re VIOXX ) MDL Docket No. 1657
Products Liability Litigation }
} SECTION L
This document relates to )
Case No. 05-4315 ) JUDGE FALLON
)
Michael Carter and Mary Carter, )
) MAG. JUDGE KNOWLES
Plaintiffs, )
)
vs. )
)
Merck & Co., Inc. and Merck }
Pharmaceuticals, a/k/a Merck, }
)
Defendants. )
)
STIPULATION OF DISMISSAL

Plaintiffs, Michael Carter and Mary Carter ("Carter"), and Defendant, Merck & Co.,
Inc. ("Merck")', hereby stipulate, pursuant to Fed. R. Civ. Proc. 41(a)(), to a dismissal
without prejudice of the above-styled lawsuit, subject to the following conditions:
1. Carter agrees that, in the event they re-file a lawsuit against Merck that contains
claims relating to Vioxx®, such lawsuit will be filed in a United States District

Court; and

to

Carter further agrees that in the event they re-file such lawsuit, any discovery
that has taken place or will take place in In re VIOXX Products Liab. Litig.

(MDL-1657), the MDL proceeding that has been established in the United States

"Merck Pharmaceuticals, a/k/a Merck" is not an entity and has not been served.

-]-
Case 2:05-md-01657-EEF-DEK Document 8093 Filed 10/20/06 Page 2 of 3

District Court for the Eastern District of Louisiana, and that is not specific to a

particular plaintiff, can be used in any such lawsuit re-filed by Carter, as though

Carter had been a party and had had an opportunity to participate in that

discovery.

Carter agree to the above-stated conditions and wish to dismiss the instant lawsuit

without prejudice to re-filing. There are no counterclaims or third-party claims.

WHEREFORE, the parties hereto stipulate to the dismissal of the above-styled lawsuit

without prejudice to re-filing, subject to the conditions stated above.

The parties further stipulate that immediately upon entry of the Order of Dismissal

Without Prejudice, Lexis Nexis will be notified of the dismissal in accordance with Pre-Trial

Order 8B.

Dated: lh-/) ~Ol,

Dated: (0 \20 lo (

Arthur Sherman, 24403

Richard Salkow, 204572

Sherman & Salkow

A Professional Corporation

11601 Wilshire Boulevard, Suite 675

Los Angeles, CA 90025

Tel: (310) 914-8484; Fax: (310) 914-0079

Counsel for Plaintiffs
Michael Carter and Mary Carter

Ooo Witfiremn 2

Phillip A.Whittmann, 13625

Dorothy H. Wimberly, 18509

Carmelite M. Bertaut, 3054

Stone Pigman Walther Wittmann L.L.C.
546 Carondelet Street

New Orleans, LA 70130

Tel: (504) 581-3200; Fax: (504) 581-3361
Defendants’ Liaison Counsel

-2.
Case 2:05-md-01657-EEF-DEK Document 8093 Filed 10/20/06 Page 3 of 3

CERTIFICATE OF SERVICE

Thereby certify that the above and foregoing Stipulation of Dismissal has been
served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail and e-mail or by
hand delivery and e-mail and upon all parties by electronically uploading the same to LexisNexis
File & Serve Advanced in accordance with Pre-Trial Order No. 8B, and that the foregoing was
electronically filed with the Clerk of Court of the United States District Court for the Eastern
District of Louisiana by using the CM/ECF system which will send a Notice of Electronic Filing

in accord with the procedures established in MDL 1657, on this 20th day of October, 2006.

/s/ Dorothy H. Wimberly
Dorothy H. Wimberly, 18509
STONE PIGMAN WALTHER
WITTMANN L.L.C.

546 Carondelet Street

New Orleans, Louisiana 70130
Phone: 504-581-3200

Fax: 504-581-3361
dwimberly@stonepigman.com

Defendants’ Liaison Counsel

Bl6474v.2
